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   8                       UNITED STATES DISTRICT COURT
   9        CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
  10
       VANESSA BRYANT,                            Case No. 2:20-cv-09582-JFW-Ex
  11
                  Plaintiff,                      Consolidated with:
  12                                              2:20-cv-10844-JFW-Ex
            vs.
  13                                              JUDGMENT ON 42 U.S.C. § 1983
       COUNTY OF LOS ANGELES, et al.,             CAUSES OF ACTION
  14
                  Defendants.
  15                                              The Honorable John F. Walter
  16
       CHRISTOPHER L. CHESTER,
  17
                  PLAINTIFF,
  18
            vs.
  19
  20 COUNTY OF LOS ANGELES, et al.,
  21              Defendants.
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                           JUDGMENT ON 42 U.S.C. § 1983 CAUSES OF ACTION
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   1                                      JUDGMENT
   2        The above-captioned cases were consolidated and the first cause of action (42
   3 U.S.C. § 1983) in Plaintiff Vanessa Bryant’s First Amended Complaint (-9582 Dkt.
   4 54) and the second cause of action (42 U.S.C. § 1983) in Plaintiff Christopher
   5 Chester’s Second Amended Complaint (-10844 Dkt. 45) were tried by a jury with
   6 U.S. District Judge John F. Walter presiding, and the jury has rendered verdicts as to
   7 these causes of action. Pursuant to the jury’s verdict, and to Plaintiff Bryant’s
   8 agreement regarding the amount of her award against Defendant Los Angeles
   9 Sheriff’s Department (-9582 Dkt. 410),
  10        IT IS ORDERED that Plaintiff Vanessa Bryant is awarded judgment against
  11 Defendant Los Angeles County Sheriff’s Department on her first cause of action
  12 (under 42 U.S.C. § 1983) in the amount of nine million dollars ($9,000,000) in
  13 damages, plus post-judgment interest at the rate of 3.33 percent (as provided by 28
  14 U.S.C. § 1961), along with costs.
  15        IT IS FURTHER ORDERED that Plaintiff Vanessa Bryant is awarded
  16 judgment against Defendant Los Angeles County Fire Department on her first cause
  17 of action (under 42 U.S.C. § 1983) in the amount of six million dollars ($6,000,000)
  18 in damages, plus post-judgment interest at the rate of 3.33 percent (as provided by
  19 28 U.S.C. § 1961), along with costs.
  20        IT IS FURTHER ORDERED that Plaintiff Vanessa Bryant is awarded
  21 judgment against Defendant County of Los Angeles on her first cause of action
  22 (under 42 U.S.C. § 1983) in the amount of fifteen million dollars ($15,000,000) in
  23 damages, plus post-judgment interest at the rate of 3.33 percent (as provided by 28
  24 U.S.C. § 1961), along with costs.
  25        IT IS FURTHER ORDERED that, pursuant to the foregoing, Defendant
  26 County of Los Angeles and Defendant Los Angeles County Sheriff’s Department
  27 are jointly and severally liable to Plaintiff Vanessa Bryant in the amount of nine
  28 million dollars ($9,000,000) plus post-judgment interest and costs, and Defendant

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                      [PROPOSED] JUDGMENT ON 42 U.S.C. § 1983 CAUSES OF ACTION
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   1 County of Los Angeles and Defendant Los Angeles County Fire Department are
   2 jointly and severally liable to Plaintiff Vanessa Bryant in the amount of six million
   3 dollars ($6,000,000) plus post-judgment interest and costs, and that Plaintiff
   4 Vanessa Bryant may not recover more than fifteen million dollars ($15,000,000) in
   5 total, plus post-judgment interest, costs, and fees awarded pursuant to Federal Rule
   6 of Civil Procedure 54(d)(2) from Defendants County of Los Angeles, Los Angeles
   7 County Sheriff’s Department, and Los Angeles County Fire Department,
   8 collectively.
   9         IT IS ORDERED that Plaintiff Christopher Chester is awarded judgment
  10 against Defendant Los Angeles County Sheriff’s Department on his second cause of
  11 action (under 42 U.S.C. § 1983) in the amount of nine million dollars ($9,000,000)
  12 in damages, plus post-judgment interest at the rate of 3.33 percent (as provided by
  13 28 U.S.C. § 1961), along with costs.
  14         IT IS FURTHER ORDERED that Plaintiff Christopher Chester is awarded
  15 judgment against Defendant Los Angeles County Fire Department on his second
  16 cause of action (under 42 U.S.C. § 1983) in the amount of six million dollars
  17 ($6,000,000) in damages, plus post-judgment interest at the rate of 3.33 percent (as
  18 provided by 28 U.S.C. § 1961), along with costs.
  19         IT IS FURTHER ORDERED that Plaintiff Christopher Chester is awarded
  20 judgment against Defendant County of Los Angeles (“County”) on his cause of
  21 action under 42 U.S.C. § 1983 in the amount of fifteen million dollars ($15,000,000)
  22 in damages, plus post-judgment interest at the rate of 3.33 percent (as provided by
  23 28 U.S.C. § 1961), along with costs.
  24         IT IS FURTHER ORDERED that, pursuant to the foregoing, Defendant
  25 County of Los Angeles and Defendant Los Angeles County Sheriff’s Department
  26 are jointly and severally liable to Plaintiff Christopher Chester in the amount of nine
  27 million dollars ($9,000,000) plus post-judgment interest and costs, and Defendant
  28 County of Los Angeles and Defendant Los Angeles County Fire Department are

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                            JUDGMENT ON 42 U.S.C. § 1983 CAUSES OF ACTION
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   1 jointly and severally liable to Plaintiff Christopher Chester in the amount of six
   2 million dollars ($6,000,000) plus post-judgment interest and costs, and that Plaintiff
   3 Christopher Chester may not recover more than fifteen million dollars ($15,000,000)
   4 in total, plus post-judgment interest, costs, and fees awarded pursuant to Federal
   5 Rule of Civil Procedure 54(d)(2) from Defendants County of Los Angeles, Los
   6 Angeles County Sheriff’s Department, and Los Angeles County Fire Department,
   7 collectively.
   8         IT IS FURTHER ORDERED that, pursuant to 28 U.S.C. § 1961, any post-
   9 judgment interest owed by Defendants County of Los Angeles, Los Angeles County
  10 Sheriff’s Department, or Los Angeles County Fire Department to Plaintiff Vanessa
  11 Bryant or Plaintiff Christopher Chester under this judgment shall be computed daily
  12 from the date of entry of this judgment until such judgment is paid in full and shall
  13 be compounded annually.
  14         The Court expressly determines under Federal Rule of Civil Procedure 54(b)
  15 that there is no just reason to delay entry of a final judgment on these causes of
  16 action and directs the clerk to enter this final judgment in favor of Plaintiffs Vanessa
  17 Bryant and Christopher Chester, and against Defendants Los Angeles County
  18 Sheriff’s Department, Los Angeles County Fire Department, and County of Los
  19 Angeles on Plaintiff Vanessa Bryant’s first cause of action (42 U.S.C. § 1983) and
  20 Plaintiff Christopher Chester’s second cause of action (42 U.S.C. § 1983).
  21         This judgment is without prejudice to any application for attorney’s fees and
  22 related nontaxable expenses filed by Plaintiffs pursuant to Federal Rule of Civil
  23 Procedure 54(d)(2) and Local Rule 54-7, or any opposition thereto by Defendants.
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  26 DATED: August 31, 2022
  27                                                           Hon. John F. Walter

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                            JUDGMENT ON 42 U.S.C. § 1983 CAUSES OF ACTION
